Case 5:08-cr-50051-KES          Document 413         Filed 05/06/09       Page 1 of 7 PageID #: 1506




                              UNITED STATES DISTRICT COURT
                                                                                      FILED
                                                                                      MAY 06 2009
                               DISTRICT OF SOUTH DAKOTA
                                    WESTERN DIVISION
                                                                                      ~~
 * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * .. * * * * * * * * * * .. * *
                                                    *
 UNITED STATES OF AMERICA,                          *               CR. 08-50051
                                                    *
                 Plaintiff,                         *
                                                    *                   ORDER
        v.                                          *
                                                    *               (Motions to Sever)
 BRANDON ECOFFEY (08),                              *
 LYLE WILSON (03)                                    *
           Defendant.                                *
                                                    *
 ***************************************************
        Pending are Defendants' Motions to Sever (Docs. 374 and 385). No hearing was held; the
 motions are decided on the basis of the briefs and the legal arguments contained therein. For the
 reasons more fully explained below, Defendants' motions are DENIED.


                                           JURISDICTION
        Defendants are charged in a Superseding Indictment wi th conspiracy to distribute and
 possession with intent to distribute cocaine and marijuana in violation of 21 U.S.C. § § 846,
 841 (a)(I), 841 (b)(I)(A)(ii), 84 1(b)(I)(B) and 841 (b)(I)(C). The pending Motions to Sever were
 referred to the Magistrate Judge pursuant to 28 U.S.c. § 636(b)(I)(B) and Judge Piersol's Standing
 Order dated November 29, 2006.


                                           BACKGROUND
        The Superseding Indictment charges Defendant Ecoffey in Count I, Count II and Count IV
 ofpossessing with intent to distribute and conspiring to distribute cocaine and marijuana. Defendant
 Wilson is charged with the same crimes in Counts I, II and III. I Ecoffey is not named in Count III,
 and Wilson is not named in Count IV. Both move to sever, asserting that justice is best served by
 trying their cases separately.    They cite several reasons in support of their argument:           The
 Government resists.     Defendants' arguments in support of severance are outlined below:


         IThere were originally eight codefendants in this drug conspiracy case. The other six
 have all entered into plea agreements.
Case 5:08-cr-50051-KES          Document 413         Filed 05/06/09       Page 2 of 7 PageID #: 1507




         Defendants are charged in a five count Superseding Indictment. Both are charged in Counts
 I and II. Wilson is charged in Count III but Ecoffey is not. Ecoffey is charged in Count IV, but
 Wilson is not. The fifth Count is a forfeiture count which does not involve either remaining
 defendant.


        First, defendants assert that Lawrence Vigil was associated with everyone named in the
 Superseding Indictment, but the other named codefendants were not necessarily associated with each
 other. In other words, defendants assert there may have been more than one conspiracy, and the
 Counts in the Indictment are therefore improperly joined.


        Second, Defendant Ecoffey also asserts that for much of the time frame alleged in the
 Superseding Indictment (2002 through 2008), he was away at college and could not have participated
 in the alleged conspiracy.    Because he attended college out of state and did not return to South
 Dakota until August, 2006, Defendant Ecoffey asserts that his "markedly different" degree of
 culpability presents an unacceptable risk of prejudice to him.


        Third, Defendants assert that in this case, limiting instructions to the jury will be insufficient
 to cure any potential prejudice. They argue that the Court cannot reasonably expect the jury to
 "collate and appraise the independent evidence against each defendant in view of its volume and the
 court's limiting instructions." See, Doc. 385 at p. II.


        Fourth, Defendant Ecoffey also claims that his trial should be severed from his codefendant
 Lyle Wilson because Wilson "may otherwise agree to testifY and provide exculpatory evidence on
 Mr. Ecoffey's behalf but for his intention to remain silent in his own trial.". . See, Doc. 385 at
 p. I I. Ecoffey acknowledges that another former codefendant (Eagle Bull) intends to testifY at trial
 and inculpate Ecoffey regarding activities which occurred at Alvina White Bull's residence. See,
 Doc. 385 at p. 12. Ecoffey claims that "upon information and belief, Mr. Wilson, at a separate trial,
 could testifY as to Mr. Ecoffey rarely, if ever, being present at the Alvina White Bull residence, thus
 contradicting and impeaching one of Mr. Ecoffey's primary accusers." !d.


                                                   -2­
Case 5:08-cr-50051-KES           Document 413        Filed 05/06/09       Page 3 of 7 PageID #: 1508




                                             DISCUSSION
          The grant or denial of a motion to sever is left to the sound discretion of the trial court and
 will not be reversed absent a showing of abuse of discretion that resulted in clear prejudice. us. v.
 Lawson, 173 F.3d 666, 671 (8 th Cir. 1999). Fed. R. Crim. P. 8(b) provides:
                 (b) Joinder of Defendants. The indictment or infonnation may
                 charge 2 or more defendants if they are alleged to have participated
                 in the same act or transaction, or in the same series of acts or
                 transactions, consti tuting an offense or offenses. The defendants may
                 be charged in one or more counts together or separately. All
                 defendants need not be charged in each count.


          In ruling on a motion for severance, a court must weigh the inconvenience and expense of
 separate trials against the prejudice resulting from a joint trial of co-defendants. To grant a motion
 for severance, the necessary prejudice must be severe or compelling. This is because a joint trial
 gives the jury the best perspective on all of the evidence and therefore, increases the likelihood of
 a correct outcome." United States v. Pherigo, 327 F.3d 690,693 (8 th Cir. 2003).       "Persons charged
 with a conspiracy will generally be tried together, especially where proof ofthe charges against each
 of the defendants is based on the same evidence and acts. Rarely, if ever, will it be improper for co­
 conspirators to be tried together." United States v. Kime, 99 F.3d 879, 880 (8 th Cir. 1996).


          I.     Single vs. Multiple Conspiracies
          The first basis for Defendants' motion is their his contention that there are really multiple
 conspiracies. They theorize that Lawrence Vigil was the common thread, and the people in one
 sub-group may not have known the nature of the activity of the people from the other sub-group of
 people with which Mr. Vigil was dealing. In the context of a drug conspiracy, however, The Eighth
 Circuit has noted that "one does not have to have contact with all of the other members of a
 conspiracy to be held accountable as a conspirator." United States v. Bascope-Zurita, 68 F.3d 1057,
 1061 (8 th Cir. 1995). A single conspiracy may be found "when the defendants share a common
 overall goal and the same method is used to achieve that goal, even if the actors are not always the
 same."    Id. A "totality of the circumstances" test is applied to determine whether a single or
 multiple conspiracies exists. The factors to be considered include: (I) the nature of the activities


                                                   -3­
Case 5:08-cr-50051-KES          Document 413         Filed 05/06/09      Page 4 of 7 PageID #: 1509




 involved; (2) the location where the alleged events of the conspiracy took place; (3) the identity of
 the conspirators involved; (4) the time frame in which the act or acts occurred. !d. In this case, Mr.
 Ecoffeyand Mr. Wilson are charged in Counts I and II with the same activities, during the same time
 frame, in the same place, with the same group of people. Rule 8(b) on its face indicates it is not
 necessary for each defendant to be named in each Count of the Superseding Indictment.' Likewise,
 that Ecoffey and Wilson may not have known the full extent of the other's activities does not
 mandate a finding of multiple conspiracies. "Notwithstanding a defendant's lack of knowledge of
 the identity ofall ofthe other co-conspirators or his failure to appreciate the extent ofthe enterprise,
 a defendant can be held liable as a co-conspirator if he shares the common purpose or goal of the
 other conspirators." United States v. McCarthy, 97 F.3d 1562, 157 I (8"' Cir. 1996). This alleged
 basis for severance fails.


         2.      Different Degrees of Culpability
         Defendant Ecoffey asserts that the evidence at trial will show codefendant Wilson was much
 more involved in the conspiracy because Ecoffey was away at college during much ofthe time frame
 alleged in the indictment. Because there is a "markedly different degree of culpability" Ecoffey
 asserts the risk of prejudice against him is heightened, justifYing severance.


         Ecoffey asserts that much ofthe evidence may be competent as to his co-defendant but not
 as to him.   In United States v. Kime 99 F.3d 879, 880 (8 th Cir. 1996), the defendant argued he was
 "unfairly tarred" by the spillover effect from the "vast majority" of evidence which was admissible
 only against his co-defendant. The Eighth Circuit held that severance was not warranted. "To justifY
 severance, the defendant must show more than the mere fact that his or her chances for acquittal
 would have been better had he been tried separately ... Mere disparity of evidence against co­
 defendants or the alleged prejudicial spillover effect of evidence against a co-defendant are not
 grounds for severance absent a showing the jury will be unable to compartmentalize the evidence
 against each individual defendant." [d. at 880. Factors bearing on whether the jury will be able to
 compartmentalize the evidence are the length and expected complexity of the trial. [d. In this case,


        2For this reason, Untied States v. Satterfield, 548 F.2d 1341 (9 th Cir. 1977) and the
 corresponding argument in Defendant Wilson's brief is unpersuasive.

                                                   -4­
Case 5:08-cr-50051-KES          Document 413         Filed 05/06/09       Page 5 of 7 PageID #: 1510



 there are only two remaining defendants. The alleged conspiracy was six years long, although
 Ecoffey claims the time frame of his alleged involvement was relatively short (twenty one months
 out of the 77 months alleged in the Superseding Indictment).        There are only five counts in the
 Superseding Indictment, and the two remaining defendants are named in only four of those counts.
 See, e.g. United States v. Frank, 354 F.3d 910 (8 1h Cir. 2004) (district court did not err by refusing
 to sever where two defendants were involved in six day trial which encompassed 51 count
 indictment). Defendants have failed to make a sufficient showing that the jury will be unable to
 compartmentalize the evidence.


        3.      Inadequacy of Limiting Instructions
        Next, Defendant Ecoffey asserts that in this case, jury instructions will be insufficient to cure
 any prejudice which may be presented by a joint trial with his codefendant Lyle Wilson. "Any risk
 of prejudice [may be] reduced by the district court's instructions, which [should direct] the jury to
 consider each offense and its supporting evidence separately, and to analyze the evidence with
 respect to each individual without considering evidence admitted solely against other defendants."
 United States v. Mathison. 157 F.3d 541, 546 (8 1h Cir. 1998) (citations omitted). See also United
 States v. Moore, 149 F.3d 773, 778 (8 1h Cir. 1998)(risk that jurors would not be able to
 compartmentalize evidence against various defendants was minimized by court's ongoing limiting
 instructions); United States v. Flores, 362 F.3d 1030 (8'h Cir. 2004) (no requirement in ajoint trial
 that the quantum evidence ofeach defendant's culpability be equal; district court properly instructed
 jury and no evidence jury was unable to compartmentalize evidence against each defendant).
 Despite the case authority to the contrary, Ecoffey asserts it will be impossible for the jury to follow
 instructions to separate the evidence against him and codefendant Wilson.
        A strong policy presumption exists in favor of joint trials when charges will be
        proved by the same evidence and result from the same acts. Society has an interest
        in speedy and efficient trials. Separate trials produce additional labor for judges and
        juries, which results from the unnecessary repetition ofevidence and trial procedures.
        Moreover, the risk ofprejudice to defendants in a joint trial is presumably low,
        becausejuries are presumed capable ofsorting evidence and consideringseparately
        each count and each defendant.
 United States v. Caver, 470 F.3d 220, 238 (6th Cir. 2007) (emphasis added, citations omitted).
 Further, in criminal prosecutions "[j]uries are presumed to follow instructions." United States v.


                                                   -5­
Case 5:08-cr-50051-KES         Document 413         Filed 05/06/09      Page 6 of 7 PageID #: 1511



 Chipps, 410 F.3d 438, 449 (8 th Cir. 2005). Defendant Ecoffey has not shown that there is a
 disparity ofevidence between him and codefendant Wilson that cannot be adequately addressed with
 appropriate jury instructions. There are only two remaining Defendants. There are four applicable
 counts in the Superseding Indictment-three pertaining to each Defendant. Defendants are free to
 request appropriate limiting instructions from Judge Schreier to insure neither is prejudiced by any
 disparity in the evidence between them.


        4.      Potential Exculpatory Testimony
        Next, Ecoffey asserts that exculpatory evidence might be forthcoming from codefendant
 Wilson at a separate trial, but not in a joint trial. Defendant Ecoffey has provided nothing but sheer
 speculation that Wilson would testify on his behalf at a separate trial. Wilson has not expressed a
 willingness or intent on the record to offer exculpatory testimony. "A defendant is not entitled to
 severance on the weight of an unsupported possibility that a co-defendant's testimony might be
 forthcoming at a separate trial. A defendant's assertion that his co-defendant might testify at a
 separate trial must find some independent support in the record." United States v. Graham, 548
 F.2d 1302, 131 I (8 th Cir. 1977) (citations omitted). See also United States v. Caspers, 736 F.2d
 1246,1248 (8 th Cir. 1984) (attorney's assertion that exculpatory testimony would be forthcoming not
 enough-affidavit from co-defendant was absent); United States v. Easom, 569 F.2d 457,458 (8'h Cir.
 1978) (defendant not entitled to severance based on "unsupported possibility" that co-defendant's
 testimony might be forthcoming at a separate trial).


        Additionally, the testimony Ecoffey claims codefendant Wilson might offer consists of
 Wilson's assertion that former codefendant Eagle Bull's anticipated testimony about Ecoffey's
 involvement in criminal activity occurring at Alvina White Bull's residence is exaggerated. While
 Wilson's anticipated testimony might impeach a government witness, Ecoffey has not demonstrated
 that it would actually exculpate him. "Anticipated exculpatory testimony of a codefendant does not
 automatically require severance. Severance is not mandated simply because a codefendant might
 testify and thereby only increase the chances of acquittal or tend to rebut some aspect of the
 government's case. Exculpation is required." United States v. Tucker, 2007 WL 6148093 (E.D. Mo.
 Dec. II, 2007) at *3. See, also, United States v. Reed, 733 F.2d 492, 508 (8 th Cir. 1984)(severance


                                                  -6­
Case 5:08-cr-50051-KES           Document 413        Filed 05/06/09      Page 7 of 7 PageID #: 1512



 not required every time a codefendant would testify on defendant's behalf at a separate trial to
 merely rebut some aspect of government's case; severance required only when codefendant's
 proffered testimony would exculpate defendant requesting severance). For these reasons, Wilson's
 potential testimony at a separate trial is likewise an insufficient reason to sever.


                                   CONCLUSION AND ORDER
        Accordingly, IT IS ORDERED that Defendants' Motions to Sever (Docs. 374 and 385) are
 DENIED.
                Dated this   ~ay of May, 2009.
                                                BY THE COURT:



                                                John      imko,
                                                Unite     ates Magistrate Judge

 ATTEST:

 JOSEPH HAAS, Clerk          ,

 BYW;'~/#L~
 (SEAL)




                                                   -7­
